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                                   No. 24-11946
                      In the United States Court of Appeals
                             For the Eleventh Circuit
                            __________________________

                            ADAM MCLEAN, an individual,
                              JAMES DOYLE, an individual,
                on behalf of themselves and all others similarly situated,
                                                      Plaintiffs-Appellants,
                                         versus

                               DELTA AIR LINES, INC.,
                                                  Defendant-Appellee.
                            __________________________

                On Appeal from the United States District Court for the
                Northern District of Georgia, No. 1:17-cv-00541-ELR
                          __________________________

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                    McLean, et al v. Delta Air Lines, Inc.
                               No. 24-11946
              CERTIFICATE OF INTERESTED PERSONS AND
                CORPORATE DISCLOSURE STATEMENT

      Pursuant to 11th Cir. R. 26.1, Adam McLean and James Doyle, hereby certify

that the following is a complete list of the trial judge and all attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of this particular case on appeal:

      • Anderson, Stephen J., counsel for Appellants Adam McLean and James

         Doyle (counsel for Plaintiffs Adam McLean and James Doyle below)

      • Basking, Hannah L., (counsel for Defendant below)

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         (counsel for Plaintiffs Adam McLean and James Doyle below)

      • Bisbee, Lincoln O., counsel for Appellee (counsel for Defendant below)

      • Coomes, A. Joseph (withdrawn counsel for Plaintiffs Jeremy Sorenson,

         Randal Reep, Randal Smith, and Adam McLean below)

      • Covey, A. Cyclone (counsel for Plaintiffs Jeremy Sorenson and Randal

         Reep below)

      • Delta Air Lines, Inc., a Delaware Corporation (NYSE: DAL), Appellee

         (Defendant below). Delta Air Lines, Inc. certified that Delta Air Lines,

         Inc. has no parent corporation, and no publicly held corporation owns 10%

         or more of its stock.



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                   McLean, et al v. Delta Air Lines, Inc.
                              No. 24-11946
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    • Doyle, James, Appellant (Plaintiff below)

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    • Kenneth S. Nugent, P.C., counsel for Appellants Adam McLean and James

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       Reep below)

    • McLean, Adam, Appellant (Plaintiff below)

    • Morgan, Lewis & Bockius LLP, counsel for Appellee (counsel for

       Defendant below)

    • Munger & Stone, LLP, counsel for Appellee (counsel for Defendant below)

    • Munger, Thomas J., (withdrawn/deceased counsel for Defendant below)


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                  McLean, et al v. Delta Air Lines, Inc.
                              No. 24-11946
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    • Reep, Randal (Plaintiff below)

    • Robinson, Blair J. (withdrawn counsel for Defendant below)

    • Rosenstein, Ira G. (counsel for Defendant below)

    • Ross, Eleanor L. (United States District Judge below)

    • Smith, Randal (Plaintiff below)

    • Sorenson, Jeremy (Plaintiff below)

    • Stone, Benjamin A. (withdrawn counsel for Defendant below)

    • Stonebarger Law, APC, counsel for Appellants Adam McLean and James

       Doyle (counsel for Plaintiffs Adam McLean and James Doyle below)

    • Stonebarger, Gene J., counsel for Appellants Adam McLean and James

       Doyle (counsel for Plaintiffs Adam McLean and James Doyle below)

    • The Law Offices of Charles M. Billy, P.C., counsel for Appellants Adam

       McLean and James Doyle (counsel for Plaintiffs Adam McLean and James

       Doyle below)

    • Troutman Pepper Hamilton Sanders LLP, (counsel for Defendant below)

    • Washburn, James A., (counsel for Defendant below)




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              STATEMENT REGARDING ORAL ARGUMENT

   Plaintiffs request oral argument under 11th Cir. R. 28-1(c). This action was

brought as a putative Class Action and is a matter of public concern affecting a large

number of persons. This action requires interpretation of the Uniformed Services

Employment and Reemployment Rights act of 1994 (“USERRA”). USERRA is an

important federal statue protecting employment rights of military reservists who

“play a vital role in our nation's defense policy.” Myrick v. City of Hoover, 69 F.4th

1309, 1312 (11th Cir., June 8, 2023).




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                         JURISDICTIONAL STATEMENT

      The Court has original subject matter jurisdiction founded on federal question

jurisdiction, 28 U.S.C. §1331, as conferred by 38 U.S.C. §4323(b)(3). Plaintiffs-

Appellants Adam McLean and James Doyle, individually and on behalf of all others

similarly situated (“Plaintiffs” or the “Military Pilots”), timely filed their Notice of

Appeal on June 11, 2024 [Doc. 270], pursuant to Rule 4(a)(1)(A) of the Federal

Rules of Appellate Procedure, with the United States Court of Appeals for the

Eleventh Circuit from the District Court’s FRCP 58 Final Judgment as to all of

Plaintiffs’ claims contained in the Second Amended Complaint (“SAC”) against

Defendant-Appellee Delta Air Lines, Inc. (“Defendant,” “Delta” or “Employer”),

entered in the above-captioned action on September 8, 2023[Doc. 251], which

became final on May 30, 2024 when the only remaining pending claim in the case

was dismissed by the District Court, and no claims remained pending before the

District Court [Doc. 269].

                           STATEMENT OF THE ISSUES

I.       Did the District Court err in not determining that Delta’s Concurrent Duty

         Policy was discriminatory and thus unlawful under USERRA?

II.      Did the District Court err when it determined that Plaintiffs’ violations of

         Delta’s Councurrent Duty Policy could be used by Delta as a standalone

         legitimate reason to take adverse action against Plaintiffs?



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III.   Did the District Court err when it denied Plaintiffs’ Motion for

       Reconsideration based upon newly discovered evidence material to the

       Court’s findings regarding Plaintiffs’ Discrimination Cause of Action alleging

       the illegality of Delta’s discriminatory Concurrent Duty Policy?

IV.    Did the District Court err by not allowing a jury to weigh the evidence and

       determine if pilot earnings at Delta are “reasonably certain”?

V.     Did the District Court err by holding that Plaintiffs’ argument comparing

       military leave of absence (“MLOA”) with Special Conflict Military Leave

       (“SCML”) was a new claim not included in the SAC and raised for the first

       time in Opposition to the Motion for Summary Judgment?

VI.    Did the Distrcit Court err by not allowing a jury to determine if other forms

       of leave, such as SCML and Known Leave of Absence (“KLOA”), are

       comparable to military leave?




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                         STATEMENT OF THE CASE

I.    Nature of The Case

      “Military reservists play a vital role in our nation's defense policy.” Myrick v.

City of Hoover, 69 F.4th 1309, 1312 (11th Cir., June 8, 2023). “When called to

service, these men and women are expected to leave their civilian jobs, sometimes

for years on end.” Id. To alleviate this burden, Congress enacted USERRA. Id.

(citing 38 U.S.C. § 4301(a)). “In short, USERRA recognizes that those who serve in

the military should be supported, rather than penalized, for their service.” Clarkson

v. Alaska Airlines, Inc., 59 F.4th 424, 429 (9th Cir., Feb. 1, 2023). USERRA enables

servicemembers to strike a balance between fulfilling their military duties and

civilian obligations, including civilian jobs, without suffering discrimination. Id.

(citing Travers v. Fed. Express Corp., 8 F.4th 198, 199 (3rd Cir., Aug. 10, 2021)).

       “USERRA is the latest in a long line of laws that protect employees who

serve in the military.” Id. at 1314. “Congress enacted USERRA to mitigate the

employment disadvantages that stem from non-career military service.” Id. (citing

38 U.S.C. §4301(a)(1)). “In pursuit of this purpose, Congress imposed a number of

obligations on employers and granted a number of entitlements to military

employees.” Id. This Appeal is about the obligations and entitlements in §4311

(Prohibition on Discrimination), §4316(a) (Seniority Based Benefits), §4316(b)

(Non-Seniority Based Benefits) and §4318(b)(3) (Pension Benefits).



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      “The Supreme Court has long admonished courts to construe statutes

protecting veterans liberally for the benefit of the veteran.” Myrick, 69 F.4th at 1318

(citing Fishgold v. Sullivan Drydock & Repair Corp., 328 U.S. 275, 285 (1946)).

“Congress adopted this rule of construction when it enacted USERRA.” Id. (citing

Clarkson, 59 F.4th at 429.) “Thus, when two plausible interpretations of USERRA

exist—one denying benefits, the other protecting the veteran—we must choose the

interpretation that protects the veteran.” Id. (citing Travers, 8 F.4th at 208 n.25

(“[A]ny interpretive doubt is construed in favor of the service member, under the

pro-veteran canon.”); see also Boone v. Lightner, 319 U.S. 561, 575 (1943)(“always

to be liberally construed to protect those who have been obliged to drop their own

affairs to take up the burdens of the nation.”)

      As the District Court previously recognized in its 2018 Order Denying Delta’s

Motion to Dismiss, Congress enacted USERRA:

      (1) to encourage noncareer service in the uniformed services by
      eliminating or minimizing the disadvantages to civilian careers and
      employment which can result from such service; (2) to minimize the
      disruption to the lives of persons performing service in the uniformed
      services as well as to their employers, their fellow employees, and their
      communities, by providing for the prompt reemployment of such
      persons upon their completion of such service; and (3) to prohibit
      discrimination against persons because of their service in the uniformed
      services.

38 U.S.C. §4301; Sorenson v. Delta Air Lines, 2018 U.S. Dist. LEXIS 244076, *12-

13 (N.D. Ga. 2018).



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      “Congress intended USERRA and its predecessor statutes to protect reservists

during their ‘frequent absences from work’ with the full understanding that those

frequent absences could ‘cause considerable inconvenience to an employer.’”

Clarkson, 59 F.4th at 436 (citing Monroe v. Standard Oil Co., 452 U.S. 549. 555

(1981)). “Nevertheless, Congress has provided that employers may not rid

themselves of such inconveniences and productivity losses by discharging or

otherwise disadvantaging employee-reservists solely because of their military

obligations.” Id.

      A.     § 4311 (Prohibition on Discrimination)

      USERRA affords broad protections against discrimination, providing that

service members “shall not be denied … any benefit of employment by an employer

on the basis of that membership.” 38 U.S.C. §4311(a).

      The USERRA statute is very similar to Title VII of the Civil Rights Act of

1964 (“Title VII”), 42 U.S.C. §2000e-2(a). Herrera v. City of Hialeah, 2023 U.S.

App. LEXIS 1114, *7 (11th Cir., Jan 18, 2023)(citing Staub v. Proctor Hosp., 562

U.S. 411, 417, (2011)). “To ‘discriminate’ against a person meant in 1964 what it

means today: to ‘trea[t] that individual worse than others who are similarly

situated.’” Students for Fair Admissions, Inc. v. President & Fellows of Harv. Coll.,

143 S. Ct. 2141, 2208 (June 29, 2023)(citing Webster’s Third New International




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Dictionary 648 (1961)(“to make a difference in treatment or favor on a class or

categorical basis”).

      “An employee proves a violation [of USERRA] by establishing that his

‘service . . . in the uniformed services [was] a motivating factor in the employer's

action, unless the employer can prove that the action would have been taken in the

absence of such . . . service.’” Thomas v. Broward Cnty. Sheriff's Office, 71 F.4th

1305, 1312 (11th Cir., June 22, 2023)(citing §4311(c)(1)). “A person’s military

service is a motivating factor if ‘it is one of the factors that a truthful employer

would list if asked for the reasons for its decision.” Id. “A wide range of evidence

may prove that an employee's military status was a motivating factor in his

termination, including ‘an employer’s expressed hostility towards members

protected by the statute together with knowledge of the employee’s military

activity’ and ‘inconsistencies between the proffered reason and other actions of the

employer.’” Id. (internal citations omitted).

      “The Supreme Court has held that an employer may be held liable for

employment discrimination based on the discriminatory animus of an employee

who influenced, but did not make, the ultimate employment decision.” Herrera v.

City of Hialeah, 2023 U.S. App. LEXIS 1114, *8 (citing Staub, 562 U.S. at 417-

23). “In Staub, the Supreme Court ruled that a plaintiff may assert a ‘cat’s paw’

claim under USERRA by showing that (1) a supervisor performed an act motivated



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by the animus that was intended to cause an adverse employment action; and (2)

the act was the proximate cause of the ultimate adverse employment action.” Id.

      This Circuit has consistently “held that the plaintiff must first establish a

prima facie case of discrimination by showing, by a preponderance of evidence,

that his protected status was a ‘motivating factor’ in the employer's adverse

employment decision.” Gambrill v. Cullman County Bd. of Educ., 395 Fed. Appx.

543, 544 (11th Cir., Aug. 21, 2010). “A motivating factor does not mean that it had

to be the sole cause of the employment action, but it has to be one of the factors

that the employer ‘relied on, took into account, considered, or conditioned its

decision on that consideration.’” Id. After the plaintiff meets the initial burden, the

burden shifts to the employer to prove, by a preponderance of evidence, the

affirmative defense that “legitimate reasons, standing alone, would have induced

the employer to take the same adverse action.” Id.

      B.     § 4316(a) (Seniority Benefits) and § 4318(b)(3) (Pension Benefits)

      “A person who is reemployed under [USERRA] is entitled to the seniority

and other rights and benefits determined by seniority that the person had on the

date of the commencement of service in the uniformed services plus the additional

seniority and rights and benefits that such person would have attained if the person

had remained continuously employed.” 38 U.S.C. §4316(a). If benefits are




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seniority-based, the benefits accrue as though the employee was continuously

employed. 20 C.F.R. §1002.210.

       “[T]he employer must allocate the amount of its make-up contribution for the

employee … in the same manner and to the same extent that it allocates the amount

for other employees during the period of service.” 20 C.F.R. §1002.261; 38 U.S.C.

§4318(b)(1). The employee’s pension contributions must be based on the

compensation the employee would have reasonably received but for the period of

military service. 38 U.S.C. §4318(b)(3).

      C.     § 4316(b) (Non-Seniority Based Benefits)

      If benefits are non-seniority-based, employees on MLOA are entitled to the

same benefits provided to other employees on a leave of absence pursuant to 38

U.S.C. §4316(b)(1)(B). “The Department of Labor's (‘DOL’) implementing

regulation for §4316(b)(1) explains that the ‘non-seniority rights and benefits to

which an employee is entitled during a period of service are those that the employer

provides to similarly situated employees by an employment contract, agreement,

policy, practice, or plan in effect at the employee's workplace.’” Clarkson, 59 F.4th

at 431 (citing 20 C.F.R. §1002.150). “The regulation then explains that if the benefits

vary according to the type of leave, the employee must be given ‘the most favorable

treatment accorded to any comparable form of leave when he or she performs service

in the uniformed services.’” Id.



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      “Comparability is a question of fact.” Id. at 434. “It is thus a question for the

jury unless ‘the facts of a case suggest that no reasonable jury could see enough

commonality for a meaningful comparison.’” Id. (quoting Rozumalski v. W.F. Baird

& Assocs., Ltd., 937 F.3d 919, 927 (7th Cir. 2019))(holding that comparability in

employment discrimination cases is a jury question); see also Scanlan v. Am. Airlines

Grp., Inc., 102 F.4th 164, 170 (3rd Cir., May 21, 2024) (“unless no reasonable jury

could find the types of leave to be similar, the comparability question must go to a

jury.”)

II.    Procedural Background

       Four individual Plaintiffs, Jeremy Sorenson, Randal Reep, Randal Smith and

Adam McLean, filed their original Class Action complaint on February 13, 2017

against Delta on behalf of themselves and a proposed class of pilots who are or were

members of the United States Armed Services or National Guard and who took

MLOA while employed by Delta. [Doc. 1.] The First Amended Complaint added

Plaintiff James Doyle on March 10, 2017. [Doc. 12.] Delta’s Motion to Dismiss filed

on April 6, 2017, was denied on February 16, 2018. [Doc. 24.]

       Following limited discovery, Plaintiffs filed the operative Second Amended

Complaint on September 28, 2020 (“SAC”), which removed a claim for sick time

accrual, and maintained claims that Delta violated USERRA by: (1)

undercalculating pension contributions for pilots who took MLOA; (2)



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undercalculating profit-sharing payments during MLOA; (3) restricting vacation

accrual to the first 30 days of each MLOA; and (4) discriminating against pilots due

to their military service, including through Delta’s “Concurrent Duty” policy. [Doc.

84-Pgs 32-43.]

      Plaintiffs alleged Delta’s policies and practices relating to MLOA violated

various sections of USERRA, including but not limited to Sections 4303, 4311,

4312, 4316 and 4318. [Id.-Pgs 4-9, 26-28.] Delta filed a Motion for Summary

Judgment on March 14, 2022 (“MSJ”); and on March 31, 2023, the District Court

issued its Order Granting Summary Judgment in favor of Delta and against the

Military Pilots on all issues except Plaintiff Smith’s “Five-Year Limit”/rehiring

claim. [Doc. 227.]

      Plaintiffs McLean and Doyle filed a Motion for Reconsideration of the

Court’s Order on April 28, 2023, related to Plaintiffs’ “Discrimination Claims”

specifically addressing the “Concurrent Duty” policy. [Doc. 228.] On July 24, 2023,

the Court denied the motion. [Doc. 235.]

      Plaintiffs McLean and Doyle filed a Notice of Appeal on August 8, 2023.

[Doc. 236.]

      A Stipulation of Dismissal with Prejudice of the Claims of Plaintiff Randal

Smith was filed on August 30, 2023, following the settlement of Plaintiff Smith’s

individual claims against Delta. [Doc. 249.]



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       A final Judgment related to all claims, except Plaintiff Smith’s dismissed

discrimination claim, was filed on September 8, 2023. [Doc. 251.] Plaintiffs filed a

related Notice of Appeal on October 6, 2023. [Doc. 252.]

       On January 3, 2024, this Court found that it lacked jurisdiction of Plaintiffs’

McLean and Doyle’s appeals because Plaintiff Smith’s claim was still pending

before the District Court [Docs. 257, 258.]

       On May 30, 2024, the District Court filed an Order Granting Plaintiff Smith’s

Motion for Voluntary Dismissal by Court Order Pursuant to Fed. R. Civ. P. 41(a)(2),

leaving no remaining claims before the District Court. [Doc. 269.]

       Plaintiffs McLean and Doyle timely filed this Notice of Appeal on June 11,

2024. [Doc. 270.]

III.   The Summary Judgment Order

       The District Court issued an Order on March 31, 2023, Granting Delta’s MSJ

[Doc. 227] against Plaintiffs McLean and Doyle as to all Causes of Action which

led to final Judgment against Plaintiffs in favor of Delta on the First (Pension

Contributions), Second (Vacation Time Accrual) and Third (Profit Sharing) Causes

of Action, and on Counts 1 (General Harassment) and 2 (Concurrent Duty) of the

Fourth Cause of Action (Discrimination). [Docs. 84, 227, 235, 251.]

       In the Order, the District Court ruled: 1) against Plaintiffs’ claims of

discrimination, including Count 2 based upon Delta’s Concurrent Duty Policy [Doc.



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227-Pgs 49-52]; 2) that “Plaintiffs’ monthly pay is not ‘reasonably certain’ pursuant

to USERRA” therefore Delta’s methods for calculating pension contributions did

not violate USERRA [Id.-Pgs 27, 30]; and 3) that MLOA is not a comparable leave

of absence to other forms of leave taken by Delta’s employees under 38 U.S.C. §

4316(b)(1)(B). [Id.-Pgs 37-38, FN19].

      A.     Order Regarding Plaintiff McLean’s Discrimination Claims

      In its Order, the Court found “that Defendant was, at minimum, concerned

about Plaintiff [McLean’s] availability to Defendant due to his military status.” [Id.-

Pg 50.]

      However, the Court found that Delta carried its burden to prove “that

legitimate reasons, standing alone, would have induced it to take the same adverse

action” by presenting “McLean’s own deposition testimony wherein he concedes

that he violated Defendant’s concurrent duty policy by performing military duties

on days he was also working for Defendant.” [Id.-Pgs 50-51.] The Court found that

“McLean violated the concurrent duty policy on no fewer than sixty-nine (69) days

during the period between January 1, 2013, and March 31, 2016;” “he performed

military duty, including flying Air Force jets, while on paid sick leave with

Defendant;” and “McLean performed military duty while on paid sick leave a

minimum of thirty-one (31) days and that his ‘misuse’ of ‘sick leave provide[d] an

independent basis for termination’ aside from his abuse of MLOA. [Id.-Pg 51.] The



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Court held that “no genuine dispute of material fact remains with regard to Plaintiff

McLean’s discrimination claim, and the Court grants summary judgment in favor of

Defendant as to the same.” [Id.-Pg 52.]

      B.     Order Regarding Plaintiff Doyle’s Discrimination Claims

      In its Order, the Court found that “Plaintiff Doyle has offered evidence

establishing the prima facie elements of his USERRA discrimination claim by a

preponderance of the evidence.” [Id.-Pg 46.] The Court went on to identify specific

facts supporting this finding:

      Specifically, Plaintiff Doyle asserts that an April 28, 2015 email
      exchange between one of Defendant’s supervisors, Mr. Barry Behnfeldt
      (who oversaw the MLOA process for at least some of Defendant’s
      employees, including Plaintiff Doyle), and Defendant’s regional
      director, Captain Phil Davis, shows that Defendant discriminated
      against him because of his military status. [See generally Doc. 197-16].
      In that email exchange, Mr. Behnfeldt alerts Captain Davis that he
      “stumbled across” Plaintiff Doyle’s pattern of taking a single MLOA
      day in a block of on-call days (or “reserve days”) and that Plaintiff
      Doyle was “not being too kind to his primary employer.” [See id.]
      Captain Davis responds: “Interesting that you raised this guy’s schedule
      today. He hit my radar last week[;] . . . . [W]e [will] be visiting . . . him
      the next time he does the single MLOA day in the middle of a reserve
      days block. He has done it very blatantly over the last year.” [See id.]
      The Court agrees with Plaintiff Doyle that this evidence is sufficient to
      establish a prima facie case of USERRA discrimination because a
      reasonable jury could use it to infer that Defendant pressured Plaintiff
      Doyle to resign from Defendant’s employ because of Plaintiff Doyle’s
      military status. [Doc. 227-Pgs 46-47.]

      However, the Court went on to find “that Defendant carries its burden to

demonstrate, by a preponderance of the evidence, that it possessed standalone,



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legitimate reasons for the so-called ‘pressure’ it placed on Plaintiff Doyle that

ultimately led to his resignation.” [Id.-Pg 49.] The Court found that “[r]egardless of

his military status, Plaintiff Doyle’s admitted violations of Defendant’s policies,

disregard for Defendant’s ability to schedule his leave (which no doubt impacted

other employees), lack of productivity, and abuse or misuse of Defendant’s leave

systems all supported Defendant’s investigation and that its actions were not

motivated by animus against servicemembers.” [Id.] The Court held that “[b]ecause

there is no genuine dispute of material fact as to whether Defendant would be

justified in pressuring Plaintiff Doyle to resign even absent his military status, the

Court grants summary judgment in favor of Defendant on Plaintiff Doyle’s

discrimination claim.” [Id.-Pgs 49-50.]

      C.     Order Regarding Pension Contributions for Military Pilots

      The first inquiry the Court addressed regarding Pension Contributions was

“whether Plaintiffs’ regular compensation was ‘reasonably certain.’” [Id.-Pg 24.]

The Court found that Defendant has demonstrated the absence of material fact on

this issue and shown that Plaintiffs’ monthly pay is not “reasonably certain.” [Id.-Pg

27.] To reach this determination, the Court relied on Delta’s expert’s (Robert

Speakman) opinion regarding the “standard deviation” of only the named Plaintiffs’

pay hours in months where they took no formal MLOA, rather than the pay hours of

pilots who had no military obligations. [Id.-Pgs 25-26.] The Court did not consider



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that Military Duty was performed by each named Plaintiff in each month analyzed

by Speakman; and the Court completely disregarded Plaintiffs’ competing expert’s

(Candice Rosevear) opinion that Delta “has not established that pilot pay is

‘uncertain;’” that Delta is incorrect with regard to “how to interpret and compare

standard deviations, making all of his conclusions meaningless,” and that “the

Speakman Report presents invalid comparisons which lead to invalid conclusions.”

[Doc. 173-2-Pg 6, ¶13; Pg 8, ¶18, Pg 12, ¶30.]

      The Court also found “the ALV method to be lawful pursuant to USERRA

because it provided Plaintiffs with more pension contributions than they would have

received pursuant to the plainly legal twelve (12)-month lookback method.” [Doc.

227-Pg 30.] The Court granted summary judgment in Defendant’s favor on

Plaintiffs’ first cause of action related to pension contributions. [Id.]

      D.     Order Regarding Vacation Time Accrual Policy for Military Pilots

      The Court summarily rejected Plaintiffs’ argument that SCML was

comparable to MLOA, holding that this “theory is insufficient as a matter of law to

sustain their vacation accrual claim” because it was raised for the first time in the

Oppositions to the MSJ. [Id.-Pg 38, FN 19.] The Court also rejected Plaintiffs’

contention that KLOA is a comparable form of leave to MLOA for purposes of their

vacation accrual claim. [Id.-Pg 37.] Accordingly, the Court granted summary




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judgment on Plaintiffs’ second cause of action related to vacation time accrual. [Id.-

Pg 38.]

IV.   Statement of Facts

      Delta’s company culture of hostility against its Military Pilots is evidenced by

a robust factual record establishing discrimination by Delta in treating its Military

Pilots worse than other Delta pilots who are similarly situated:




(Email exchange circulated between Delta supervisors overseeing MLOA seeking

to modify pilot behavior.) [Doc. 198-19].) In 2015, Captain Chris Frederick (Delta’s

then Regional Director and Chief Pilot in Atlanta) summarized Delta’s culture of

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severe and pervasive harassment toward its pilots with military responsibilities in an

email exchange with Barry Behnfeldt (Delta’s Flying Operations Special

Assignment Supervisor in charge of overseeing MLOA), wherein he states:

      This is a case of the airlines subsidizing the military/government.
      Cooperation is one thing, but this has a direct impact on operations. It
      will make us start looking at whether to hire these guys or not to. Then,
      we show intent to be more discriminatory, they start leaving the
      reserve/guard in droves. Cause and effect. [Doc. 199-2–Pg 1].)

      Delta’s policies and practices are designed to discourage and reduce MLOA,

to persuade pilots to resign from military service, and to underfund benefits for pilots

who take MLOA. [Docs. 198-15, 198-17–Pg1.] This enables Delta to employ fewer

pilots, to minimize its USERRA responsibilities, and to increase profits to the

detriment of Plaintiffs and the Class. [Docs. 195-1–Pg 1, 195-8, 195-9, 195-11.]

      A.     Delta’s Concurrent Duty Policy

      At the heart of the discrimination in this case is Delta’s Concurrent Duty

Policy. In 2018, the District Court found that Moving Plaintiffs had alleged a

plausible claim based on Delta’s Concurrent Duty Policy because “pilots may not

perform any military service on the same day that they have obligations to [Delta],

but they may engage in any other activity.” Sorenson v. Delta Air Lines, 2018 U.S.

Dist. LEXIS 244076, *24 (emphasis included) [Doc. 24-Pg 21.]

      From 2006 until 2016, Delta’s Concurrent Duty Policy was listed in Delta’s

Flight Operations Manual (“FOM”) as follows: “It is Delta’s policy that a pilot



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participating in active military duty is ineligible to perform Delta duties in any

capacity.” [Doc. 206-7–Pg 63.] Factual evidence showed that the policy was applied

much more broadly than was written, such that military pilots were prevented from

performing both military duty and working for Delta not just at the exact same

moment in time they are flying Delta aircraft, but on the same calendar day, even

when the two actions did not conflict or overlap during the same day. [Doc. 178-2-

Pg 20.] In practice, and as used against the Plaintiffs, these restrictions prevented

individuals from performing military duty during their own free time and/or on sick

leave, when notice is not required to be given to the employer; and these restrictions

only applied to those performing military work, and no other type of work or activity.

      “Many Delta pilots have other careers,” but this policy does not prohibit pilots

from engaging in any activity other than performing military service obligations.

[Docs. 206, 207-Pgs 22-23; Docs. 206-9, 207-9 – Pg 25; Docs. 206-21, 207-21 – Pg

2].) The Concurrent Duty Policy remained in place until March 2, 2023. [Docs. 228-

1 – Pgs 3-4, 228-2 - Pg 11, §13(D).]

      Although military servicemembers perform Military Duty while on formal

MLOA (an actual leave taken when the employee needs to be absent from, or miss

scheduled work with the civilian employer), Military Duty is often performed by

military servicemembers without taking formal MLOA. The performance of some

Military Duty can be accomplished on one’s personal time (including by pilots on



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layovers, after a Delta flight or before a Delta flight), that does not necessarily

require an absence from employment with the civilian employer. However, Delta’s

Concurrent Duty Policy at issue here that was in place from 2006-2023 prohibited

pilots from performing any Military Duty without taking formal MLOA from Delta.

      Delta’s management understood that “military pilots are being singled out for

double-dipping where pilots with side-business (sic) are not.” [Doc. 198-36.] “[A]

pilot can have a business at home and get paid for that while sitting long call (or

even short call), but a Military pilot cannot perform Military service while on long

call without fearing for retribution if he is ever asked for orders.” [Id.]

      Similarly, if a pilot calls in sick from Delta such that the pilot can’t fly, but

can perform other activities, that pilot is not prevented from performing any other

non-military activity while they are recovering on paid sick leave. But Delta’s policy

prevents that person from performing military duty, unless the pilot goes off of paid

sick leave and on unpaid MLOA. [Doc. 201-Pgs 134:13-135:8, 136:18-137:2.] 1 The

pilot can work as a dentist on the same day he or she works for or is sick from Delta,

but that same pilot cannot perform work as a military dentist. [Id.-Pgs 100:19-101:7;

Doc. 197-Pgs 194:10-195:11; Doc. 195-Pgs 202:13-205:12.] A pilot can fly their

own airplane, but they can’t fly a military airplane. [Doc. 205-Pgs 63:19-21, p. 64:4-


1
 Pursuant to 11th Cir. R. 28-5, References to Depositions Transcripts are to the page
number that appears in the header generated by the district court’s electronic filing
system.

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13.] The pilot can even drink alcohol on the same day, but can’t perform military

duty. [Docs. 201-Pg 105:2-6; 206-7-Pg 75.]

      B.     Delta’s Pension Contribution Practices for Military Pilots

      Between January 1, 2005 and December 31, 2011, Delta used the average pay

a pilot received in the previous 12-months to calculate pension contributions while

on MLOA. [Docs. 206-3, 207-3.] Years ago, the pilot union (“ALPA”) informed

Delta that pilot earnings are “reasonably certain” and the look-back method to

calculate deemed earnings violated USERRA. [Docs. 206-4, 207-4].) ALPA

suggested using an average for monthly pay hours, along with actual hourly pay

rates, with longevity and contractual pay raises, and hourly pay rate increases due to

“position changes.” [Id.-Pg 3.]

      Delta changed its policy in 2012 after its “Labor Relations” department agreed

with ALPA that Delta’s then “current position” (i.e. the 12-month look back) was

not USERRA compliant; and an average monthly pay hour value along with actual

hourly pay rate increases, is “a fair estimation of the average pilot’s earnings” which

“should enhance our USERRA compliance.” [Docs. 206-5, 207-5, Pgs 15, 35.] Delta

agreed that pilot earnings are reasonably certain, but Delta did not retroactively

correct prior pension underpayments. [Docs. 206-2, 207-2 at ¶10.]

      Since 2012, Delta has utilized an artificially low average for pay hours in its

calculations called Average Line Value (“ALV”). [Doc. 200-3.] Delta also uses



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hourly Pay Rates that account for contractual pay increases, but does not use pay

rate increases caused by seat movement. 2 [Id.]

        ALV is “the number of hours established by [Delta] that is the projected

average of all regular line values, for a position, for a bid period and is” between 71

and 85 pay hours per month. (Doc. 178-3-Pgs 13-14, §2(A)(29).) 3 “ALV changes

month-to-month,” and “is derived from the [future] bid award.” [Doc. 200-Pg 31:13-

21.] ALV is a forward-looking estimate and not a true reflection of the pay hours

that pilots will receive.

        Pilots also receive pay for time other than flying, such as vacation, sick time,

jury duty, deadhead time, overtime or premium time, and time on call. [Doc. 200-

Pgs 20:18-24, 26:5-16.] “[S]easonal variations in compensation” are to be included

in earnings calculations in determining if compensation is reasonably certain; ALV

exhibits strong seasonality that is depicted in Exhibit 1 of the Rosevear Expert

Report. 20 C.F.R. §1002; [Doc. 173-1-Pg 12, ¶23; Doc. 200-2.]




2
    There is no dispute that Pay Rates are reasonably certain.
3
    Delta only provided sections of the most recent PWA. [Docs. 206-2 ¶12; 206-25.]

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[Doc. 173-1-Pg 21.]

      Through the Rosevear Expert Report, Plaintiffs presented material facts at the

heart the “reasonable certainty” issue through a summary of Delta’s voluminous

pilot employee pay data as allowed by Federal Rule of Evidence 1006 (“[t]he

proponent may use a summary, chart, or calculation to prove the content of

voluminous writings, recordings, or photographs that cannot be conveniently

examined in court”). Fed. R. Evid. 1006.

      ALV is an artificially low average because it uses pays hours that are planned

versus pay hours actually earned by the overall pilot group, so using it

undercalculates deemed earnings. Delta uses an hour average because it believes

pilot pay is reasonably certain, and Plaintiffs argue that Delta must use a more


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accurate average, like Average Pay Hours (“APH”) which reflects the pay

hours of pilots continuously employed, and not impacted by military leave. Since

2012, Delta has tracked APH for its pilots. [Docs. 206-2, 207-2 ¶14; Doc. 200-Pgs

40:12-49:9; Docs. 200-5, 200-6, 200-7.]

      C.    Delta’s Vacation Time Accrual Policy for Military Pilots

      Delta pilots do not accrue vacation if on MLOA in excess of 30 consecutive

days. [Docs. 206-15, 207-15-Pg 5 §7.b.3.] At least two leaves offered to Delta

pilots provide enhanced vacation accrual and are comparable to MLOA: Special

Conflict Military Leave (“SCML”) and Known Leave of Absence (“KLOA”).

      Since 2001, Delta has provided SCML benefits that allow the accrual of

vacation for 60 consecutive days of MLOA. [Docs. 200-Pgs 84:8–86:19; 206-5-Pg

29; 206-17-Pg 3.]

      During KLOA pilots remain on “active status” and continue to accrue

vacation during the entire KLOA, which can last indefinitely. [Docs. 206-15, 207-

15 Pg 5 §7(B)(3).]

V.    Standard of Review

      Federal appellate courts “review a grant of summary judgment de novo,

viewing the evidence in the light most favorable to the nonmoving party. Yelling v.

St. Vincent's Health Sys., 82 F.4th 1329, 1311 (11th Cir., Oct. 5, 2023). “Summary

judgment is proper if the evidence shows 'that there is no genuine dispute as to any



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material fact and the movant is entitled to judgment as a matter of law.’” Id. (quoting

Fed. R. Civ. P. 56(a)).

      “[P]laintiffs relying on circumstantial evidence can always survive summary

judgment if ‘circumstantial evidence raises a reasonable inference that the employer

discriminated.’” Id. at 1342 (quoting Smith v. Lockheed-Martin Corp., 644 F.3d

1321, 1328 (11th Cir. 2011)). At the summary judgment stage, the district court’s

function is to determine whether there is a genuine issue for trial, not judge

credibility, weigh the evidence, or resolve factual disputes. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 249 (1986).

                          SUMMARY OF ARGUMENT

I.    Discrimination Cause of Action

      The District Court erred in failing to address the illegality of Delta’s

Concurrent Duty Policy relied upon by Delta as the “standalone legitimate reason”

to take adverse action against Plaintiffs. The District Court also erred in denying

Plaintiffs’ Motion for Reconsideration [Doc. 228] based upon newly discovered

evidence and a need to correct a clear error of law or fact material to the Court’s

findings regarding Count 2 of Moving Plaintiffs’ Discrimination cause of action

alleging the illegality of Delta’s discriminatory Concurrent Duty Policy.




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II.    Pension Contribution Cause of Action

       The District Court erred when it looked only to Delta’s flawed expert analysis,

and failed to allow a jury to weigh the conflicting evidence to determine if pilot pay

at Delta is “reasonably certain” for the purposes of calculating pension contributions

for pilots on MLOA.

III.   Vacation Time Accrual Cause of Action

       The District Court erred when it rejected Plaintiffs’ analysis of a comparable

form of leave titled Special Conflict Military Leave (“SCML”) finding that this was

a new claim raised for the first time in opposition to the MSJ. The District Court also

erred when it failed to allow a jury to determine what forms of leave at Delta are

comparable to MLOA.

                                    ARGUMENT

I.     The District Court Committed Reversible Error By Not Determining
       That The Concurrent Duty Policy Was Itself Discriminatory And Cannot
       Be Used As A Legitimate Basis To Justify Adverse Action

       Delta had a discriminatory policy in place that unlawfully treated Military

Pilots differently and less favorably than all other pilots, and then used violations of

that unlawful and discriminatory policy as a basis to punish and terminate pilots. As

the District Court previously found in 2018 at the Motion to Dismiss stage of this

case, Plaintiffs alleged a plausible claim based on Delta’s alleged discriminatory

Concurrent Duty Policy whereby “pilots may not perform any military service on



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the same day that they have obligations to [Delta], but they may engage in any other

activity.” [Doc. 24-Pg 21; Doc. 227.]

      USERRA only requires an employee to provide verbal or written notice of

military duty if the employee is absent, as in “the employee intends to leave the

employment position to perform service in the uniformed services.” 38 U.S.C.

§4316(b); 20 C.F.R. §1002.85(a)(emphasis added); 38 U.S.C. §4312. If one can

perform military duties on personal days, on personal time, or one can perform tasks

such as telecommuting or administrative work from the comfort of one’s own home

or hotel room (i.e. while on call, layover or sick leave), one need not inform the

employer nor request time off. And the timing of requesting formal MLOA only

needs to be “reasonable under the circumstances,” if an absence from the employer

is required. 20 C.F.R. §1002.85(d).

      A military service member can simultaneously “moonlight” at a civilian

employer, and is not required to inform the civilian employer about military duty

unless it causes the employee to be unavailable. Drake v. Tucson, Inc., 1010 WL

148212, at *1-3, 10-11 (D. Ariz. Jan 12, 2010). “From [the] military’s perspective,

if someone is on 120-day orders; when they have time not assigned to military duty,

they may fly for their commercial carrier.” [Doc. 196-2 -Pg 6.] The military does not

limit pilots’ ability to moonlight because guard and reserve pilots are needed to meet

operational requirements. [Id.-Pg 2.]



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      Some of Delta’s Chief Pilots and managers questioned the legality of the

Concurrent Duty Policy and sought relief to allow pilots to perform military duty on

their own time, including while on reserve and on layovers. [Doc. 198-34.] “This is

a slippery slope we’ve gone down w/ our concurrent duty policy. I think the

reasonable choice is to say [the pilot] should be able to perform military duty AFTER

he has completed Delta duty.” [Doc. 198-32-Pg 2.] “Webster’s defines concurrent

as ‘happening at the same time’”… and “[i]t’s not concurrent when [military duty

is] done AFTER (or even before) a [Delta] duty period. Conflict is conflict, but after-

or perhaps even before-is not a conflict.” [Id.-Pg 1.] Delta Chief Pilots even admitted

that they themselves performed concurrent duty, and performed military duty after

they called in sick for Delta. [Doc. 202-Pgs 46:14-50:24.]

      In the Summary Judgment Order, the District Court analyzed Plaintiffs’

discrimination claims under Section 4311 of USERRA. [Doc. 227-Pgs 38-43.] This

provision is violated by the employer “when an employee’s membership or

performance of service is a ‘motivating factor in the employer’s action, unless the

employer can prove that the action would have been taken in the absence of such

membership . . . or service.’” [Id.-Pgs 38-39(quoting 38 U.S.C. § 4311(c)(1)).] As

with the Title VII standard articulated by the U.S. Supreme Court in Bostock, the

“motivating factor” standard is a “more forgiving standard” where “liability can

sometimes follow even if sex [or military affiliation here] wasn’t a but-for cause of



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the employer’s challenged decision.” Bostock v. Clayton Cty., 140 S. Ct. 1731, 1739-

1740 (June 15, 2020). “That ‘lessened’ showing is sufficient for a Title VII

discrimination claim, which requires only a showing that race ‘was a motivating

factor for the defendant's adverse employment action,’ even if some other (lawful)

consideration would have led to the same outcome.” Yelling, 82 F.4th at 1311. “In

other words, the motivating-factor standard only asks whether ‘illegal bias played a

role’ even if bias was not a necessary link in the causal chain. If it did, the claim can

proceed.” Id.

      The District Court acknowledged that “[a] motivating factor does not have to

be ‘the sole cause of the employment action” but “[r]ather, ‘it is [just] one of the

factors that a truthful employer would list if asked for the reasons for its decision.”

[Doc. 227-Pg 39, citing Annarumma, 846 F. App’x at 782; see Doc. 228-1 – Pgs 5-

8.] “A court can infer discriminatory motivation from a variety of considerations”

including the “the temporal proximity between the employee’s military activity and

the adverse employment action,” the “inconsistencies between the proffered reason

for the employer’s decision and other actions of the employer,” and most

importantly, the “disparate treatment of similarly situated employees.” [Doc. 227-

Pg 40, citing Annarumma, 846 F. App’x at 782 (citing Coffman v. Chugach Support

Serv., Inc., 411 F.3d 1231, 1238 (11th Cir. 2005).]




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      “If an employee carries his burden to establish a prima facie USERRA

discrimination claim, ‘the burden shifts to the employer to prove, by a preponderance

of the evidence, that legitimate reasons, standing alone, would have induced it to

take the same adverse action.” Annarumma, 846 F. App’x at 782 (citing Coffman,

411 F.3d at 1238-39); [see Doc 227-Pg 40].

         “A Plaintiff may establish pretext indirectly by showing that an employer’s

proffered reason for its decision is unworthy of credence” which can be

accomplished      by    “demonstrat[ing]        such   weaknesses,       implausibilities,

inconsistencies, incoherencies, or contradictions in the proffered reason so that a

reasonable factfinder could conclude that it is unworthy of credit.” See Annarumma,

FN8, citing Jackson v. State of Ala. Tenure Comm’n, 405 F.3d 1276, 1289 (11th Cir.

2005).

      In order to show pretext, the plaintiff must “demonstrate that the proffered

reason was not the true reason for the employment decision . . . . [The plaintiff] may

succeed in this either directly by persuading the court that a discriminatory reason

more likely motivated the employer or indirectly by showing that the employer’s

proffered explanation is unworthy of credence.” Tex. Dep’t of Cmty. Affairs v.

Burdine, 450 U.S. 248, 256 (1981)[Doc. 228-1-Pg 7; see also Doc. 206-Pgs 14-16.]

“[A] plaintiff withstands summary adjudication by producing sufficient evidence to

allow a reasonable finder of fact to conclude that the defendant’s articulated reasons



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for its decision are not believable.” Howard v. BP Oil Co., 32 F.3d 520, 526 (11th

Cir. 1994) (citing St. Mary’s Honor Crt. v. Hicks, 509 U.S. 502 (1993)) “[E]vidence

of intentional discrimination is all a plaintiff needs to defeat a motion for summary

judgment.” Id. at 525.

      Plaintiffs met their burden at summary judgment when they introduced

evidence that could form the basis for a finding of facts by a jury, taken in the light

most favorable to Plaintiffs, that discredit defendant’s proffered nondiscriminatory

reasons for its actions. Combs v. Plantation Patterns, 106 F.3d 1519, 1530, 1543

(11th Cir. 1997). Here, Plaintiffs provided a robust factual record establishing that

Plaintiffs’ respective status as military servicemembers was a motivating factor by

Delta in adverse employment actions taken against them, including the termination

of Doyle and McLean for violations of Delta’s Concurrent Duty Policy due to their

respective obligations to the military. [Docs. 206, 207-Pgs 3-4, 14-25.]

      Delta’s Concurrent Duty Policy was plainly discriminatory because it only

prohibited employees from performing military service, but nothing else. [Docs.

206, 207-Pg. 20.] Factual evidence establishes that the policy was applied broadly

such that military pilots were prevented from performing both military duty and

working for Delta not just at the exact same moment in time they are flying Delta

aircraft, but on the same calendar day, even when the two actions do not conflict or

overlap during the same day. [Doc. 178-2-Pg 20.]



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      Delta’s policies required pilots to notify Delta of all military duty, even if

formal MLOA isn’t required to accomplish the military duty, such as on days off

from Delta, after the pilot is finished working for Delta on a given day, or before the

pilot is scheduled to fly for Delta. [Doc. 199-20-Pgs 1, 7; Docs. 206, 207-Pg 21.]

Non-military pilots are not required to report any other activity to Delta that occurs,

like in the examples above, during their free or personal time. Id.

      Throughout Delta’s MSJ briefing, Delta continuously and intentionally

confuses the performance of Military Duty (which is performing some type of work

for the military which can be on one’s personal and/or free time), and MLOA, which

is the performance of military duty that conflicts with performing work at one’s

civilian employer and requires an absence from scheduled work from an employer.

20 C.F.R. §§1002.85(a), (c), (d); 32 C.F.R. §104.6(a)(2)(A)(2002)(“advance notice

of absence due to uniformed service.”)[Doc. 223-1-Pg 5; Doc. 228-1-Pg 8.]

      Delta falsely argued that USERRA requires it to have this policy and that

USERRA has some sort of a “bright line requirement” that all military service, not

just service requiring an actual absence, must be treated as a day of MLOA even if

no actual conflict requiring an employee to be absent from scheduled work occurs.

[Doc. 220-Pgs 6, 40-41.] These assertions were proven false when Delta eliminated

the “Concurrent Duty” policy effective March 2, 2023. [Doc. 228-1-Pgs 3-4, 8-9.]

In the Motion for Reconsideration, Plaintiffs introduce this recent change of policy



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as newly discovered evidence showing that Delta now expressly allows Concurrent

Duty, which proves that not only could Delta control the policy, but that it was (and

is) feasible to allow military service members to perform military duty on the same

day as Delta duty, there is no requirement for pilots to be on MLOA every time they

perform military duty, and there is no requirement for pilots to take MLOA unless

they need to be absent from actual work for their civilian employer. [Doc. 228-1 -

Pgs 2-4, 8-11.]

      The District Court erred by failing to find that the Concurrent Duty Policy

treats military pilots differently and less favorably than all other pilots, was

discriminatory, and was thus unlawful. The Court actually held that Delta’s

standalone reasons for the discipline and termination of Moving Plaintiffs were

grounded in, and rested upon, their purported violations of Delta’s Concurrent Duty

Policy. The Court found “that legitimate reasons, standing alone, would have

induced it to take the same adverse action” based on Plaintiffs’ violations of

Defendant’s Concurrent Duty Policy by performing military duties on days when

also working for Defendant. [Doc. 227-Pgs 50-51.] But the standalone reasons relied

upon by the Court are themselves discriminatory and unlawful under USERRA, and

cannot be used as pretext or justification for discipline or termination.

      Without the Concurrent Duty policy in place, Delta would not have even

begun its investigation of Plaintiffs, would not have been able to take adverse action



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against Plaintiffs and would have found no standalone legitimate reasons to take

adverse action against Plaintiffs.

      A.     Plaintiff McLean’s Military Status was a Motivating Factor in his
             Termination

      The District Court held that Delta properly took adverse action against

McLean for violating “[Delta]’s concurrent duty policy by performing military

duties on days he was also working for [Delta] . . .” and because “he performed

military duty . . . while on paid sick leave with [Delta].” [Doc. 228-1- Pg 12; Doc.

227-Pgs 50-51.] The District Court incorrectly held that McLean’s performance of

military duty while on paid sick leave was a “misuse” of sick leave, and provided

“‘an independent basis for termination’ aside from his abuse of” MLOA.” [Doc. 227-

Pg 51.] Performing military duty while on paid sick leave at Delta is a violation of

the discriminatory Concurrent Duty Policy because Delta doesn’t prevent pilots from

performing any other activity other than military duty while on paid sick leave.

[Docs. 206-Pgs 23-24.] Delta may not have liked that McLean performed military

duty while he was recovering from a hernia operation and was unable to fly for Delta,

but Delta does not restrict pilots from performing any other activity other than

military duty while on sick leave. [Doc. 228-1-Pg 14.]

      The District Court also erred when it found that McLean “abuses or misuses”

. . . “various leave systems,” but the factual reality is that Delta investigated and then

punished McLean solely because of his military leave status, and his performance of


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military duty. [Doc. 206-Pgs 23-25, FN7.] Plaintiff McLean was only guilty of

performing frequent military duty, which is protected by USERRA, and for violating

Delta’s unlawful Concurrent Duty Policy. [Doc. 228-1-Pg 15.]

      But for McLean’s military obligations, Delta would never have even begun

an investigation of him. [Doc. 228-1-Pg 14; Doc. 206-Pg 24.] This confirms the clear

discrimination against McLean based on his status as a military servicemember

through Delta’s prior Concurrent Duty policy. Id. In August 2016, Delta listed

McLean as “Preparing for termination” due only to alleged “MLOA abuse,

manipulation, [and] concurrent duty.” [Doc. 194-6.] In this document Delta was

acting as a “truthful employer” and listed both MLOA and concurrent duty as

“motivating factors.” Thomas, 71 F.4th at 1312. As a pretext, Delta later accused

McLean of additional violations to attempt to avoid violating USERRA itself. [Doc.

206-Pgs 24, FN7; Doc. 228-1-Pg 13.] Delta suggests that Plaintiff McLean had

separate and single days of military leave on his Delta schedule, but no verified

military duty occurred. [Doc. 227-Pgs 51-52; Doc. 228-1-Pgs 13-14.] But, Delta had

never even asked Plaintiff McLean for verification or correction of these dates, and

although Plaintiff McLean has not specifically denied that these anomalies may have

occurred, he did provide explanations and reasonable justification for these possible

occurrences such as: there were a number of times military leave was posted but the

orders were cancelled; in the military records, the “military duty may have been



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logged on a different day”; orders “may very well have been amended to reflect that

the order was changed after I posted military leave”; Plaintiff McLean often

proactively adjusted military leave dates as orders changed, but there was no way to

update changes or cancellations once military leave commenced. [Doc. 228-1 - Pgs

13-14; Doc. 206, FN 7, citing Doc. 171-Pgs 179:23-180:21, 226:17-228:11, 229:3-

230:21; Doc. 171-14-Pg 5.]

      A jury must be allowed to determine these factual disputes and determine if

legitimate reasons, standing alone, would have induced Delta to take the same

adverse actions against McLean.

      B.     Plaintiff Doyle’s Military Status was a Motivating Factor in his
             Termination

      Delta’s investigation into Doyle’s military service began in April 2015, and

was initiated “because he took a ‘single [military leave] day in the middle of a

reserve days block.” [Doc. 207-Pg 23, citing Doc. 197-16-Pg 1.] “Doyle’s military

status was [the] motivating factor in Delta’s actions” and there was no independent

basis for Delta to even commence an investigation of Plaintiff Doyle other than the

fact that he frequently performed military service, which reduced his availability and

thus his productivity to Delta. [Doc. 207-Pgs10, 25, FN 3 citing Docs. 170-3; 170-

14.] The months long investigation was only focused on the timing of Plaintiff

Doyle’s military duty and his violations of the Concurrent Duty Policy. [Doc. 207-




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Pgs 23 (citing Doc. 198-21-Pgs 1-2), Pg 24 (citing Doc. 197-20); Docs. 197-17, 197-

18.]

       “It really annoys me when a guy places MLOA to take himself out of
       the 3 day trip bucket!!! [Doyle] did it three months in a row. Also look
       at the timing of placing the MLOA on his RES on call days. As the
       squadron DO, I would almost bet that he is doing military duty on those
       one/two RES days between MLOA and violating our [concurrent duty]
       policy. I would maybe talk with Phil because we have talked about
       individuals in the past with this behavior. I think it may be time to call
       these guys out and ask them for a ‘point credit summary’ for the periods
       we’re interested in. That report would show if they were performing
       duty in those periods, thereby violating our [concurrent duty] policy.”
       [Id.; Doc. 198-21 -Pg 2.]

       Delta’s own internal records do not focus on any other potential policy

violations other than Doyle’s military duty all the way until August 2016: “[i]n

August 2016, Delta [only] listed Doyle as ‘Pending termination’ due only to alleged

“MLOA abuse.” [Doc. 228-1-Pgs15-18; Doc. 207-Pg 25, citing Doc. 194-6.] In this

moment of truthfulness, Delta listed its “motivating factors” to take action against

Doyle as being solely related to his military service. Thomas, 71 F.4th at 1312.

       In finding “standalone legitimate reasons” to justify Delta’s termination of

Doyle, the District Court only focused on Doyle’s Concurrent Duty “violations” and

his military service: 1) “performed . . . military duties while on call or [on the same

day as he was] scheduled to work for” Delta; 2) “performed military duties while on

paid sick leave” at Delta; and 3) “his lack of productivity” which was entirely due




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to him performing protected military duty and MLOA. [Doc. 227-Pgs 47-49; Doc.

207-Pgs 10, 23, FN3; Doc. 228-1-Pgs 18-23.]

      The District Court’s comments regarding Doyle’s “lack of productivity for the

company” are shocking and clear error. [Doc. 227-Pg 49; Doc. 207-Pgs 10, 23, FN3;

Doc. 228-1-Pgs 22-23.] Congress sought to protect reservists during their “frequent

absences from work,” but the District Court allowed Doyle’s military obligations to

be used as a reason to deny him USERRA protections. Monroe, 452 U.S. at 565; 38

U.S.C. §§4301(a); 4311. It was also clear error for the District Court to even suggest

that Doyle had a “disregard for Defendant’s ability to schedule his leave” because

“[e]mployers are not permitted to deny military leave or pick the days of military

service, and employees are ‘not required to accommodate his or her employer’s

interests or concerns regarding the timing, frequency or duration of the uniformed

service.’” 20 C.F.R. §1002.104.

      Delta may have had “concerns about his ‘sudden increase’ in sick leave

starting in 2012, [or] his use of sick leave in combination with paid vacation days or

unpaid days off,” but there is no evidence or even a specific allegation that Doyle

ever called in sick from Delta when he was not actually sick. [Doc. 227-Pg 49; Doc.

207-Pg 24; Doc. 228-1-Pgs 22-23.] The District Court treated Delta’s facts as

undisputed, without any supporting facts or evidence of Doyle’s use of sick leave

and did not take into account Doyle’s factual evidence or his deposition testimony.



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[Doc. 170-12-Pg 1; Doc. 227-Pg 49; Doc. 228-1-Pgs 22-23.] When “[a]sked if

[Doyle] had ever called-in sick when he wasn’t actually sick [Doyle] answered in

the negative.” [Docs. 170-12; 228-1-Pg 22.]

      Doyle never admitted to violating any company policy other than the unlawful

Concurrent Duty policy, “Doyle was never out of position when Delta called [him

to fly a trip], and Doyle never missed a Delta assignment when called, even if he

was working on his military base.” [Doc. 207-Pg 24: Doc. 170-Pgs 209:4-215:19.]

      As a pretext Delta argued inadequate “notice” being provided to the Employer

for the performance of Military Duty, but “USERRA only requires employees to

provide verbal or written notice of their military duty if the employee is absent, as

in ‘the employee intends to leave the employment position to perform service in the

uniformed services.’” [Doc. 207-Pg 21]; 38 U.S.C. §4316(b); 20 C.F.R. §

1002.85(a)(emphasis added); 38 U.S.C. §4312.

      Doyle provided examples of why, due to the nature of his military unit’s

mission, notice of military leave was very short, and unavoidable. [Doc 170-Pgs

140:2-22, 248:25-250:17, 318:9-17.] Doyle provided lengthy testimony as to how,

due to the nature of the operations at his military unit, there were times he only

learned of his need to perform Military Duty the morning prior, because “as you

recall, we flew airplanes that came off of the maintenance line[] [a]nd oftentimes,




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we would be notified perhaps the day prior that a certain airplane would be ready to

go.” [Doc. 228-1-Pg 21, citing Doc. 170- Pg 139:6-23.]

      Doyle also explained that he didn’t always need to take MLOA but was still

able to perform Military Duty because “there were times where I went into the

squadron, but I didn’t have to post (military leave) on my Delta schedule because I

could have left at any time. I didn’t need, quote, ‘protection’ from Delta at that

time.” [Id.-Pg 320:3-8.]

      The Concurrent Duty Policy was unlawful and discriminatory, and violations

of that policy cannot be counted as standalone reasons to justify adverse action. A

jury must be allowed to determine if standalone legitimate reasons for taking adverse

action against Doyle were merely a pretext designed to cover up Delta’s USERRA

violations.

      C.      The District Court Erred When It Denied Plaintiffs’ Motion for
              Reconsideration Based Upon Newly Discovered Evidence Material
              To Count 2 Of Moving Plaintiffs’ Discrimination Cause Of Action
              Alleging The Illegality of Delta’s Discriminatory Concurrent Duty
              Policy

      Reconsideration is only “absolutely necessary” where there is: (1) newly

discovered evidence; (2) an intervening development or change in controlling law;

or (3) a need to correct a clear error of law or fact. Jersawitz v. People TV, 71 F.

Supp.2d 1330, 1344 (N.D. Ga. 1999); Paper Recycling, Inc. v. Amoco Oil Co., 856

F. Supp. 671, 678 (N.D. Ga. 1993). Plaintiffs filed a Motion for Reconsideration



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[Docs. 228; 228-1; 228-2] based upon newly discovered evidence and a need to

correct a clear error of law or fact material to this Court’s findings regarding Count

2 of Moving Plaintiffs’ Discrimination cause of action alleging the illegality of

Delta’s discriminatory “Concurrent Duty” policy.

      The newly discovered evidence presented is Delta’s new MLOA policy,

which was signed into effect on March 2, 2023, expressly allowing Concurrent Duty

(previously disallowed to Military Pilots) applicable within the new “Delta Pilot

Working Agreement” entered into between Delta Air Lines, Inc. and The Air Line

Pilots in the Service of Delta Airlines, Inc., as Represented by the Air Line Pilots

Association, International. [See Doc. 228-2-Pg 11, §13(D)(4).] Under Rule 407 of

the Federal Rules of Evidence, subsequent remedial measures may be admitted into

evidence for the purpose of proving control or feasibility of precautionary measures.

Fed. R. Evid. 407. Here, Delta’s conduct in expressly allowing military

servicemembers to perform Concurrent Duty in 2023 establishes that Delta could

control the policy and that it was feasible to allow military servicemembers to

perform Concurrent Duty during the prior time periods at issue in this case.

      Delta’s arguments in support of its MSJ were that it was not feasible to allow

Concurrent Duty because Delta contended that USERRA required the prohibition

on Concurrent Duty. [See Doc. 178-2-Pgs 22-23, FN 16; Doc. 220-Pgs 6, 40-41.]

Delta specifically argued that it “is required by law to treat its pilots who are serving



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in the military as if they are on leave and not working for Delta;” and that Delta has

a “legal obligation to treat pilots as if they are on leave on days where they are

performing service in the military.” [Doc. 220-Pgs 40-41.] The new evidence that

came into existence on March 2, 2023 establishes the falsity of Delta’s control and

feasibility argument as to the Concurrent Duty policy. The law and facts clearly

establish that Delta’s Concurrent Duty Policy, at issue in Count 2 of Moving

Plaintiffs’ Discrimination cause of action, is discriminatory, and cannot serve as a

“standalone legitimate reason” or pretext for discipline and/or termination.

      The 2023 PWA Concurrent Duty provision shows the feasibility of Delta to

allow military servicemembers to perform concurrent duty, and directly refutes

Delta’s arguments that it was “required by law” and had a “legal obligation” under

USERRA to prohibit concurrent duty. The new 2023 Concurrent Duty Policy clearly

allows for the performance of military duty without taking formal MLOA while on

paid Sick Leave. [See Doc. 228-2-Pg 11, §13(D)(4) (“Unless it makes the pilot

unavailable for Company duty or violates USERRA, a pilot is not restricted from

performing military duty while on a layover; while on a day of reserve; before, after

or during a rotation; while on a day with an SLI duty period; while in training; or

while on any other Company business.”).] Therefore, the stated “standalone

legitimate reason” for the discipline and termination of Plaintiffs would not violate

current Delta policies now allowing for the same. The 2023 PWA language



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specifically allows military servicemembers to perform concurrent duty and that the

“pilot performing such concurrent military duty is not required to notify the

Company.” Id.

II.   The District Court Committed Reversible Error When It Failed To Take
      Into Account Evidence Provided by Plaintiffs When It Determined That
      Pilot Pay Was Not “Reasonably Certain” In Calculating Pension
      Contributions

      The District Court held that employers are required “to calculate the

appropriate pension contributions for a given employee who has taken MLOA so

that the employee receives the same pension contributions as those employees who

did not take MLOA during the same time period.” [Doc. 227-Pg 23 (emphasis

added); see Docs. 178-2-Pgs 2–3; 206-Pg 6]; see also 38 U.S.C. § 4318. Logically,

these other employees would not be absent or on some other leave, would not have

any military service obligations, and would be available for the full period. The

employee’s pension contributions must be based on the compensation the employee

would have reasonably received but for the period of military service. 38 U.S.C.

§4318(b)(3).

      Section §4318 of USERRA, provides that the amount of funds an employer

must contribute to an employee pension plan during the employee’s “period of

[military] service . . . shall be computed” either:

  (A) at the rate the employee would have received but for the period of
      service . . . , or



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  (B) in the case that the determination of such rate is not reasonably
      certain, on the basis of the employee’s average rate of compensation
      during the 12-month period immediately preceding such period (or, if
      shorter, the period of employment immediately preceding such period).

38 U.S.C. § 4318(b)(3).

      The district Court properly noted that the “ ‘ Parties’ dispute here centers on

the proper method for calculating the earnings Plaintiffs would have received

from Defendant ‘but for [their] MLOA.’” [Doc. 227-Pg 23; see Docs. 178-2-Pg 3;

206-Pg 6.] The District Court should have only looked as a comparator to the

variability of pay hours of pilots with no military service obligations in the same

month of the MLOA at issue to determine if pilot pay is reasonably certain. But

instead of focusing on the variability of overall monthly pay hours for only those

with no military service obligations, or even the entire pilot group, the District Court

accepted Delta’s argument as to the variability of the pay hours of only the five (5)

named Plaintiffs in this case (who performed frequent and regular military duty,

including periods of formal MLOA, in nearly every month of their employment at

Delta). [Docs. 227-Pgs 24-26; 206-Pgs 10, FN 3; 207 Pgs 10, FN3; 208-Pgs 10-11;

209-Pgs 10-11; 210-Pgs 10-11; 223-1-Pgs 5-10.] Plaintiffs also fully explained

certain other properly excluded comparator months, such as new hire “Entry level

pilot” months, and the up to three-month period provided by USERRA to return to

work, following MLOA. 20 C.F.R. § 1002.259(a); [Doc. 223-1-Pgs 7-9.]




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      Plaintiffs presented evidence that was obtained from and authenticated by

Delta during discovery of the average pilot pay hours for all pilots, and in particular,

pilots with no absences during specific months, but the District Court ignored this

crucial evidence. Plaintiffs offered their own expert testimony finding that Delta’s

expert was “incorrect with regard to what the [evidence cited] says and how to

interpret and compare standard deviations.” [Docs. 206-4, 207-4-Pg 3; Docs 206-5,

207-5-Pgs 15, 35; Doc. 173-1 - Pg 12, ¶¶23-24; Doc. 173-2, Pgs. 7-15; Doc. 200-2.]

      “Reasonable” does not mean “exact,” and Plaintiffs introduced significant

evidence that shows that Delta already assumes that pilot pay hours are reasonably

certain by using Average Line Value (“ALV”) which falls in a narrow band between

71 and 85 hours per month, which fluctuates and narrows further due to seasonal

travel variations. [Docs. 206, 207-Pgs 8-10.] The District Court simply ignored all

the facts presented by Plaintiffs, including Plaintiffs’ expert’s detailed analysis and

conclusions contained the Expert Report. [Doc. 173-1, Doc. 173-2, Doc. 227-Pgs

24-27, Doc. 207-Pgs 8-11, FN3.]

      Plaintiffs presented the October 8, 2021 Expert Report of Candice L. Rosevear

wherein Ms. Rosevear (1) compared the average line value (“ALV”), the number of

hours that is the projected average of all regular line values per month, which is then

used to calculate deemed earnings for pilots on military leave, with the average

actual number of pay hours (“APH”) received by pilots who were paid at least 70



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hours per month at the completion of each month, (2) calculated an expected pension

contribution and expected profit sharing distribution based on average APH, and (3)

calculated damages for the underpayment of pension contributions and profit-

sharing distributions during the period April 1, 2007 to October 8, 2021. [Doc. 173-

1.]

      Plaintiffs contend that the average pay hours (“APH”) of non-military pilots

reflect reasonable certainty as to what a pilot without military obligation would have

earned in a given month had that pilot been continuously employed without military

obligations. Plaintiffs contend that APH takes into account compensation actually

paid to pilots, including overtime/premium pay, sick pay, vacation, additional trips

picked up by pilots on days off, weather events, or other operational events that

increase pay, which are completely omitted by Delta’s current methodology for

calculations of pension and profit sharing at issue in this case. [Doc. 200-Pg 26:1-

12; Doc. 200-3.] When placed on the same chart as ALV (which Delta utilizes in its

current calculation methodologies), APH follows identical seasonality trends as

ALV, but “APH is consistently greater than ALV” with an average differential

across the entire Class Period of 14.01 hours per month. [Doc. 173-1- Pgs 12 ¶¶ 23-

24, and p. 21.] Average APH is 90.47 hours and average ALV is 76.46 hours per

month, consistently 14 hours higher than ALV. Id.




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      The District Court blindly accepted the analysis for the monthly pay hours of

only five (5) pilots with regular military obligations to determine whether pilot pay

without military obligations is reasonably certain, while disregarding the full data

set of all Delta pilots without such military obligations.

      Delta disputed the material fact presented to the Court by Plaintiffs that all

five [named Plaintiffs] had MLOA and/or military duty throughout their

employment, which caused their pay hours to vary significantly. [Doc. 224-Pg 9.]

However, the evidence in the record firmly establishes that each named Plaintiff had

MLOA and/or military duty throughout their employment. [Doc. 170-3; Doc. 170-

14-Pgs 5-8; Docs. 171-1; 172-3; 175-7; Doc. 178-3-Pgs 45(§3(A)(5)), p. 56 (§ 3(D)),

156-157, 160, 165-168; Doc. 201-12; Doc. 174-8.] The facts are clear that Delta’s

analysis of the named Plaintiffs’ monthly hours (and corresponding averages) were

based on months that Plaintiffs performed Military Duty; and also, that Delta’s

analyses of the named Plaintiffs’ monthly pay hour averages included months that

had low pay hours based upon the USERRA protected 90-day delayed return period

from MLOA following long term MLOA. Id.

       “Where two credible experts disagree, it is the job of the fact finder, not the

trial court, to determine which source is more credible and reliable.” Clarkson, 59

F.4th at 435 (quoting City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1049

(9th Cir. 2014)). The District Court committed reversible error when it weighed the



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evidence, citing to Delta’s expert alone while ignoring Plaintiffs’ expert, to

determine that pilot pay hours at Delta were not reasonably certain. The disputed

material facts must be presented to a jury for determination.

III.   The District Court Committed Reversible Error by Failing to Allow A
       Jury Determine What Leaves Are Comparable to MLOA Relating to
       Their Vacation Accrual Claim

       A.    Plaintiffs’ Argument Comparing MLOA with SCML is Not a New
             Claim

       The District Court committed reversible error by holding that Plaintiffs’ use

of Special Conflict Military Leave (“SCML”) as a comparable form of leave in their

vacation accrual claim was a new claim. [Doc. 223-1-Pgs 10-14.]

       Plaintiffs’ Vacation Accrual Claim is not new and has been operative during

the entire pendency of this action. [Doc. 223-1-Pg 11; Docs. 1, 84.] In the SAC,

Plaintiffs allege that Delta “pilots on other forms of leave including but not limited

to . . . Union Leave, vacations, sick leave, jury duty leave, Known Personal Leaves

and certain personal leaves of absence, accrue vacation time during their leaves of

absences that are longer than a bid month or greater than 30 consecutive days,” but

pilots on MLOA only accrue vacation for if they are absent up to 30 consecutive

days. [Doc. 84, ¶¶126-134 (emphasis added); Doc. 227-Pgs 34-35.] The broad list

of comparable leaves in the SAC were those known at the time of filing, before

discovery was completed, and not intended to be limited to just those limited

examples. [Doc. 84, ¶131.] Moreover, each form of leave listed is not an individual

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cause of action; there is a single claim for discrimination relating to Vacation Time

Accrual, with potentially multiple forms of comparable leaves providing superior

benefits than pilots receive on MLOA for a jury to consider. [Id.; Doc. 220-Pg 28.]

      B.     A Jury Must be Allowed to Determine the Factual Issue of Whether
             MLOA is Comparable to Other Forms of Leave

      The District Court committed reversible error by failing to let a jury weigh the

evidence and make a factual determination as to whether SCML and/or KLOA are

comparable to MLOA under USERRA. [Doc. 223-1-Pgs 10-14.] Employees on

MLOA are entitled to the same benefits provided to other employees on a leave of

absence and if there are multiple types of leaves of absences available, “the

employee must be given the most favorable treatment accorded to any comparable

form of leave when he or she performs service in the uniformed services.” 38 U.S.C.

§ 4316(b)(1)(B); 20 C.F.R. § 1002.150(b); Travers, 8 F.4th at 202; see Smith v

Berryhill, 139 S. Ct. 1765, 1774 (2019)(“Congress’ use of the word ‘any’ suggest

an intent to use [the accompanying] term expansive[ly].” Duration and “other factors

such as the purpose of the leave and the ability of the employee to choose when to

take the leave should also be considered” for comparability. Id. Therefore, a 60-day,

90-day or 120-day MLOA would be comparable to any other type of leave of 60

days, 90 days or 120 days, or any other similar duration. Rogers v. City of San

Antonio, 392 F.3d 758, 771-72 (5th Cir. 2004); see Waltermyer v. Aluminum Co. of

America, 804 F.2d 821, 825 (3d Cir. 1986); Tully, 481 F.3d 1369-71; see Clarkson,

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59 F.4th at 43. But it’s not necessary for all three factors to weigh heavily in a

plaintiffs’ favor, and it’s acceptable to find a factor as only “minimally comparable.”

Myrick, 69 F.4th at 1319.

       “[W]hen two plausible interpretations of USERRA exist – one denying

benefits, the other protecting the veteran – we much choose the interpretation that

protects the veteran.” Id. at 1309.

             1.     Comparability

      “Comparability is a question of fact.” Syufy Enters. v. Am. Multicinema, Inc.,

793 F.2d 990, 1003 (9th Cir. 1986). Comparability “is thus a question for the jury

unless ‘the facts of a case suggest that no reasonable jury could see enough

commonality for a meaningful comparison.’” Clarkson, 59 F.4th at 434, citing

Howell v. Wexford Health Sources, Inc., 987 F.3d 647, 657 (7th Cir. 2021)(quoting

Rozumalski, 937 F.3d 919, 927 (7th Cir. 2019))(holding that comparability in

employment discrimination cases is a jury question).

      Delta’s position is that there are no comparable forms of leave to MLOA.

[Doc. 178-2-Pgs 11-14; Doc. 227-Pg 35.] This position is wrong, illogical and would

effectively eliminate this provision in USERRA. USERRA’s provisions must be

“construed in favor of the service member,” not construed out of existence. Travers,

8 F.4th at 208, n.25.




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             2.     Duration

      Delta attacked comparability by analyzing the duration of all MLOA’s at

Delta to all sick leaves and jury duty. [Doc. 178-2-Pg 12.] This analysis was

specifically rejected in Clarkson, which held that this approach would “render

USERRA’s protections meaningless” and the Circuit Court clarified that plaintiffs

may define the claim by the particular length of the military leave at issue. Clarkson,

987 F.3d at 433-435; White v. United Airlines, Inc., 987 F.3d 616, 624 (7th Cir.

2021). In this case, the Plaintiffs are comparing MLOA of greater than 30 days with

other forms of leave that are greater than 30 days. [Docs. 206, 207-Pg 12.]

             3.     Purpose

      Delta argued that other leaves “have a different purpose than MLOAs,” but

relying on purpose, or requiring an identical purpose, will result in illogical

outcomes, and improperly render nearly all forms of leave not comparable with

MLOA. [Doc. 178-2-Pgs 12-14; Doc. 227-Pg 36.] Using Delta’s analysis and

focusing on factors that are unique to MLOA makes it virtually impossible for any

leave to ever be comparable, depriving section 4316(b)(1) of any effect.

             4.     Ability to Choose

      Delta argued that MLOA is not comparable to sick leave or jury duty because

pilots have an “ability to schedule” MLOA. [Doc. 178-2-Pg 13.] However, “[t]hese

comparability determinations are for the jury to make, not the court,” as a Military



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Pilot’s ability to schedule MLOA depends on many factors, and are often out of the

individual’s control. Clarkson, 59 F.4th at 439.

      Disputed facts exist regarding a pilot’s ability to choose, as at times an

individual can have a great deal of flexibility regarding the performance of military

duty, and at other times the needs of the service are inflexible. [Doc. 206, FN7; Doc.

171-Pgs 176:20-180:21, 226:17-228:11; Doc. 171-14-Pg 5; Doc. 207-Pgs 24-25;

Doc. 170-Pgs 209:4-215:19, 139:6-23, 140:2-22, 248:25-250:17; Doc. 228-1-Pgs

21-22.]

      C.     SCML is Comparable to MLOA

      Section 4316(b) of USERRA does not limit comparable leaves to “Non-

Military Leaves” as argued by Delta in the District Court. §4316(b)(1)(B)

specifically provides that “a person who is absent from a position of employment by

reason of service in the uniformed services shall be . . . . entitled to such other rights

and benefits not determined by seniority as are generally provided by the employer

of the person to employees having similar seniority, status, and pay who are on

furlough or leave of absence under a contract, agreement, policy, practice, or plan

in effect at the commencement of such service or established while such person

performs such service.” 38 U.S.C. §4316(b)(1)(B) (emphasis added). Similarly, 20

C.F.R. §1001.150(a) specifically provides that “[t]he non-seniority rights and

benefits to which an employee is entitled during a period of service are those that



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the employer provides to similarly situated employees by an employment contract,

agreement, policy, practice, or plan in effect at the employee’s workplace.” 20

C.F.R. §1001.150(a). 20 C.F.R. §1001.150(b) states that “[i]f the non-seniority

benefits to which employees on furlough or leave of absence are entitled vary

according to the type of leave, the employee must be given the most favorable

treatment accorded to any comparable leave when he or she performs service in the

uniformed service.” 20 C.F.R. §1001.150(b)(emphasis added).

      Neither the plain language of USERRA nor the Federal Rules and Regulations

limit comparable leaves to “non-military leaves.” Id.; 38 U.S.C. §4316(b)(1)(B)

Employees on SMCL are allowed vacation accrual for 60 consecutive days instead

of just 30 and are clearly “employees having similar seniority, status, and pay” with

employees on MLOA and who are on leave of absence with Delta. They may even

be the same employee.

      The proposition that Delta can provide some employee military members

more preferential treatment with additional benefits is absurd and a slippery slope.

Under Delta’s logic, employers could provide benefits to Army members taking

MLOA, but not to Navy members taking MLOA. The bottom line is that military

members are entitled to equal treatment as their peers, including the same equal

treatment as provided to other military members within the same company who are

also taking MLOA.



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         Plaintiffs “may define the claim by the particular length of the military leave

at issue,” and here the claim is based on MLOA and SCML over 30 consecutive

days in duration. Clarkson, 987 F.3d at 433; [Docs. 206, 207-Pgs 12-13.] The

purpose of both MLOA and SCML is the service of military duty, which is identical

in nature. [Docs. 206, 207-Pg 13.] Plaintiffs provided factual evidence that shows

that MLOA and SCML are so comparable that even Delta groups these leaves

together in their database, their spreadsheets and in their expert analysis. Id.

         D.    KLOA is Comparable to MLOA

         During a KLOA pilots continue to accrue vacation with the typical KLOA

being 30 days in length, but consecutive KLOA’s can be 90 days or longer. [Doc.

206-Pgs 13-14; Doc. 207-Pg 13; Doc. 200-Pgs 91:13-92:20; Docs. 206-18, 207-18-

Pg 2.]

         Plaintiffs defined the duration for both MLOA and KLOA similarly as over

30 days. [Docs. 206, 207-Pg 13]. The general purpose of both MLOA and KLOA is

to be absent from employment with Delta. Id. “KLOA is voluntary” in that the

employee volunteers to take the leave, and the pilot therefore has choice into when

or if a KLOA is taken. [Doc. 206-Pgs 12-13; Doc. 207-Pg 13.] Like MLOA, KLOA

cannot be unilaterally revoked by Delta. Id. These facts and Delta’s own arguments

in the MSJ show that MLOA and KLOA can be voluntary in nature, and the




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employee can have the ability to choose when to take either. [Id.; Doc. 178-2-Pgs

13-14]; White, 987 F.3d at 625.

      Faced with the inability to address the glaring undisputed facts presented by

Plaintiffs, or to acknowledge that Delta’s material facts are disputed, Delta alleged

a number of false allegations against Plaintiffs and their Counsel, and Delta

presented two new legal arguments in its Reply Brief regarding Plaintiffs’ vacation

accrual claim, which the Plaintiffs never had the opportunity to address. [Doc. 223-

1-Pgs 10-14; Doc. 220-Pgs 28-30.] 4 Plaintiffs filed a Motion to file a Sur-Reply to

address Delta’s new allegations and arguments, which was denied. [Doc. 223-1.]




4
  Plaintiffs’ counsel, Messrs. Stonebarger and Billy, diligently adhered to all rules of
Federal Procedure, including the Local Rules of the District Court, to the best of
their ability under all circumstances. In response to Delta’s “undisputed facts,”
(“SOF”) Plaintiffs either admitted facts as true, refuted Delta’s facts by providing
additional citations to evidence, properly objected to the admissibility of Delta’s
facts, or pointed out that Delta’s cited facts are provided out of context and/or did
not support Delta’s asserted fact, or that Delta’s fact is otherwise not material. [L.R.
56.1(B)(2)(a)(2); Doc. 220-Pgs 7-8.] Arguments were avoided when addressing the
SOF, but explanations were provided as to why an “alleged fact” is disputed or
inaccurate. Delta utilized 125 “facts,” and Plaintiffs’ counsel’s diligence to the
adherence of proper procedure can be easily observed. [Doc. 206-1.] For instance,
Plaintiffs admitted SOF 1 and 3. In 8 other instances of alleging facts out of just the
first 12, Delta introduced an incomplete or inaccurate definition for a term that is
fully defined or has a very specific meaning in Delta’s own documents or policy.
Many of the facts are disputed in this case, and Mr. Billy’s declaration [see Doc.
206-2] introduces documents into the record which were provided by Delta during
discovery and authenticated.

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                                  CONCLUSION

      For the reasons stated above, Plaintiffs respectfully request: 1) that the District

Court’s Judgment entered against Plaintiffs McLean and Doyle be Reversed; 2) that

this Court rule that the Concurrent Duty policy is unlawful under USERRA; and 3)

the remaining issues Remanded to proceed to trial.

Dated: July 22, 2024                           Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 12,551 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

      This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

and the type style requirements of Fed. R. App. P. 32(a)(6) because the brief has

been prepared in a proportionally spaced typeface using Microsoft Office Word 365

in Times New Roman 14-point type.

Dated: July 22, 2024                          Respectfully submitted,

                                              /s/Gene J. Stonebarger
                                              GENE J. STONEBARGER




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                         CERTIFICATE OF SERVICE

      I certify that on July 22, 2024 I electronically filed the foregoing on the Clerk

of the United States Court of Appeals for the Eleventh Circuit using the CM/ECF

system. All participants are registered CM/ECF users and have been served by the

CM/ECF system.

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